        Case 1:23-mj-00026-RMM Document 1-1 Filed 01/31/23 Page 1 of 4




                                  STATEMENT OF FACTS

        On January 29, 2023, at approximately 12:00 midnight or shortly thereafter, Metropolitan
Police Department Officers O’Rourke and Reid were patrolling in full MPD uniform and driving
a marked scout car. As they drove through the 1100 block of Raum Street NE, in Washington,
D.C., they observed Defendant MAURICE DEVONTE BECKHAM (“BECKHAM”). Defendant
BECKHAM was wearing light blue skinny jeans, a black “Moose Knuckle” coat, and a black ski
mask pulled up to his forehead, revealing his face. Defendant BECKHAM observed the police,
spit on the ground, and quickly entered a gray-blue Honda CR-V, which he drove away recklessly
through a nearby alley.
        Later that day, at approximately 11:30 p.m., Officers O’Rourke and Reid were again
patrolling the 1100 block of Raum Street NE, again in full MPD uniform and driving a marked
scout car. Multiple individuals approached and walked next to the scout car, blocking the street.
At the same time, the officers noticed that a gray-blue Honda CR-V was parked and running in a
spot next to their scout car. The officers observed the driver and immediately recognized him as
Defendant BECKHAM. The Honda CR-V appeared to be the same vehicle in which the officers
had observed Defendant BECKHAM leave the block previously. Defendant BECKHAM then
quickly drove the Honda out of the parking spot, nearly striking the officers’ scout car. Defendant
BECKHAM fled the area at a high rate of speed.
       Because the officers knew Defendant BECKHAM to have outstanding warrants and
believed the Honda CR-V to be stolen, they discussed coordinating their efforts to apprehend
Defendant BECKHAM safely in the 1100 block of Raum Street NE.
        On January 30, 2023, at approximately 2:12 a.m., Officers O’Rourke and Reid entered the
1100 block of Raum Street NE, Washington, D.C. They observed what appeared to be the same
Honda CR-V running in a parking spot in the middle of the block. Officers heard an unknown
male voice audibly yell “twelve,” thereby alerting people in the surrounding area that police
officers were present. Your Affiant is aware that “twelve” is a slang term for the police.
         The officers then observed Defendant BECKHAM walk quickly toward the Honda and sit
in its driver’s seat. Defendant BECKHAM was wearing light blue skinny jeans, a black Moose
Knuckle coat, and a black ski mask. The officers recognized Defendant BECKHAM based on his
physical characteristics and the fact that officers had earlier observed him wearing the same
clothing but with the ski mask pulled up, revealing his face.
        Officer Reid quickly drove the MPD scout car toward the middle of the block and Officer
O’Rourke, who was in the passenger seat, quickly exited and started to pull the driver’s door of
the Honda CR-V open. Defendant BECKHAM struggled with Officer O’Rourke over the door,
attempting to pull it closed. Officer Reid exited the scout car to come to Officer O’Rourke’s
assistance. Defendant BECKHAM simultaneously put the Honda in drive and accelerated, moving
the car out of the parking spot and into the roadway while nearly striking Officer O’Rourke.
Noticing Defendant BECKHAM’s dangerous behavior, the officers then backed away from the
vehicle, expecting that Defendant BECKHAM would flee and make good his escape.
        Case 1:23-mj-00026-RMM Document 1-1 Filed 01/31/23 Page 2 of 4




        However, MPD Officers Lepe and Williams had also entered the block traveling eastbound
on Raum Street NE. Officers Lepe and Williams observed Officers Reid and O’Rourke struggling
to arrest Defendant BECKHAM as Defendant BECKHAM attempted to flee in the Honda. They
therefore pulled their scout car into the middle of the block. Defendant BECKHAM entered the
roadway and immediately accelerated, crashing into Officer Lepe and Williams’ scout car (MPD
scout car 5042), as well as a parked Mercedes-Benz. Due to the collision, the Honda CR-V was
wedged between the scout car and the parked Mecedes-Benz. Nevertheless, Defendant
BECKHAM attempted to continue maneuvering the car by putting it into reverse and audibly
pressing down on the accelerator.

        Officers Lepe and Williams quickly exited their scout car, and all four officers approached
the driver’s side, with multiple officers having their firearms unholstered. Officer O’Rourke yelled
loud verbal commands for Defendant BECKHAM to stop and get out of the vehicle. Defendant
BECKHAM continued to attempt to maneuver the Honda in reverse.

        Officer O’Rourke then attempted to open the driver’s door again, but Defendant
BECKHAM had locked it. Officer O’Rourke brandished his MPD-issued collapsible ASP baton
and used it to repeatedly strike the driver’s window, eventually breaking the window. Officer Reid
then reached into the vehicle and unlocked the driver’s door.

        The officers then opened the driver’s door and removed Defendant BECKHAM from the
driver’s seat, at which time he immediately ran and attempted to flee on foot. Officers held each
of Defendant BECKHAM’s arms as he flailed and pulled away. Officers were eventually able to
press Defendant BECKHAM’s body against the hood of a scout car, gain control of his arms, and
safely place him in handcuffs.

       Defendant BECKHAM’s identity was further confirmed by officers when he asked them
to remove his ski mask. Multiple officers were able to view his face and confirm his identity.
Defendant BECKHAM’s identity was further confirmed via a WALES/NCIC check and an AFIS
fingerprint scan.

        Officers called for additional units, who quickly responded and secured the entire block
with crime scene tape while Officers O’Rourke and Reid immediately secured the Honda.
Officers observed in plain view on the driver’s seat floorboard—the same area from which officers
had just removed Defendant BECKHAM—a semi-automatic rifle. Department of Forensic
Services Technician CSU-35 was notified, responded to the scene, and rendered the firearm safe
for recovery and processing.

         The recovered firearm was a Micro-Draco 7.62 mm caliber firearm, loaded with one round
of 7.62 mm ammunition in the chamber and 20 rounds in the 30-round capacity magazine, bearing
serial number 25656. There are no firearm or ammunition manufacturers in the District of
Columbia. Therefore, the firearm and ammunition in this case would have traveled in interstate
commerce prior to being recovered in the District of Columbia. A WALES/NCIC query of the
firearm serial number came back to a Luger 9-millimeter gun, not a Micro-Draco 7.62 mm caliber
rifle, leading officers to believe the serial number was illegally modified.



                                                 2
        Case 1:23-mj-00026-RMM Document 1-1 Filed 01/31/23 Page 3 of 4




       The Micro-Draco 7.62 mm caliber rifle on the Honda CR-V’s driver’s floorboard

        Officers conducted a WALES/NCIC query of a Maryland paper tag affixed to the rear of
the Honda. The query indicated that the tag was reported lost in Washington, D.C., on January 27,
2023, and that it belonged to a Jeep SUV. A separate query of the Honda CR-V’s VIN revealed
that the vehicle had been reported stolen out of Prince William County as of January 21, 2023.

        A search of the vehicle revealed multiple articles of Marine Corps clothing and equipment,
as well as body armor ballistic plates. All items with serial numbers were queried through
WALES/NCIC, which revealed that multiple items had been reported stolen. Additionally, two
cell phones were found in the middle console of the vehicle which were seized as evidence.



                                                3
         Case 1:23-mj-00026-RMM Document 1-1 Filed 01/31/23 Page 4 of 4




        Defendant BECKHAM has a prior felony conviction in the Superior Court of the District
of Columbia, docket number 2020 CF3 000494, for Unauthorized Use of a Vehicle. On November
16, 2021, Defendant BECKHAM was sentenced to a fully suspended term of 12 months’
imprisonment on the Unauthorized Use of a Vehicle charge. The plea agreement in that case—
which Defendant BECKHAM acknowledged that he read and discussed with his attorney by
affixing his signature on February 25, 2020—states that the maximum penalty for Unauthorized
Use of a Vehicle is five years’ imprisonment and/or a $12,500.00 fine. Therefore, Defendant
BECKHAM would have been aware at the time of his arrest in this case that he had a previous
conviction for a crime punishable by a term of imprisonment exceeding one year.
       As such, Your Affiant submits that probable cause exists to charge Defendant BECKHAM
with a violation of 18 U.S.C. § 922(g)(1) (Possession of a Firearm by a Person Previously
Convicted of a Crime Punishable by a Term of Imprisonment Exceeding One Year).
        Your Affiant has not provided every fact known to him about the investigation but facts
sufficient to establish probable cause.


                                               ____________________________________
                                               Stewart Curcio
                                               Special Agent
                                               Federal Bureau of Investigation

Respectfully submitted and attested to in accordance with the requirements of Fed. R. Crim. P. 4.1
via telephone on January 31, 2023.

Robin M.        Digitally signed by Robin M.
                Meriweather

Meriweather Date:     2023.01.31 09:33:53
________________________________
                -05'00'
The Honorable Robin M. Meriweather
United States Magistrate Judge




                                                 4
